       Case 1:24-cv-01381-PLF          Document 31        Filed 09/16/24      Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


HESAI TECHNOLOGY CO., LTD, et al.,

                                   Plaintiffs,

v.                                                     Civ. Action No. 1:24-cv-01381-PLF

U.S. DEPARTMENT OF DEFENSE, et al.

                                 Defendants.


                PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION
                  TO POSTPONE SUMMARY JUDGMENT HEARING

       Plaintiffs oppose delaying the Court’s hearing, scheduled three months ago, on their fully

briefed and ripe challenge to Defendants’ unlawful listing decision.

       In January 2024, Defendants designated Hesai Technology Co., Ltd. and its wholly

owned American subsidiary, Hesai Inc. (collectively, “Hesai”), as a “Chinese military company”

under Section 1260H of the 2021 National Defense Authorization Act. Hesai reached out to

Defendants to seek the basis for the decision, to explain that the listing was erroneous, and to

cooperate in good faith to correct the mistake. But over several months, Defendants failed to

provide any meaningful response or to reconsider their decision, forcing Hesai to file this lawsuit

in May 2024. Now, after the parties have fully briefed cross-motions for summary judgment

according to the agreed-to schedule that this Court set in June, Defendants seek an eleventh-hour

postponement of next week’s hearing, based on a vague representation that the Department

expects to issue a “new decision” in October. Mot. 2. Hesai—which continues to suffer

tremendous harms every day that it remains on the 1260H List—opposes that unfair and

unexplained disruption of these proceedings.



                                                 1
        Case 1:24-cv-01381-PLF         Document 31       Filed 09/16/24      Page 2 of 4




       In an apparent concession that the final decision on review is legally indefensible,

Defendants state that they are “working to have” a new one soon. Mot. 2. Throughout this

litigation, however, Defendants have insisted that their January 2024 decision is the only legally

relevant agency action before the Court. E.g., Dkt. 19, at 2, 12-13; Dkt. 23, at 23-24. According

to Defendants, any subsequent decision as to Hesai’s placement on the Section 1260H List would

constitute a “separate agency action,” and Hesai “may challenge th[at] distinct final agency

action” separately in “hypothetical future proceedings.” Dkt. 19, at 12-13. Thus, based on

Defendants’ own arguments, any “new” rationale would not render “inoperative” (Mot. 2) the

final action Plaintiffs have properly challenged, and Plaintiffs are entitled to a ruling on its

legality. See Department of Homeland Security v. Regents of Univ. of Cal., 591 U.S. 1, 23 (2020)

(“An agency must defend its actions based on the reasons it gave when it acted.”). Otherwise,

Defendants could “forc[e] both litigants and courts to chase a moving target,” id.—exacerbating

the arbitrariness and due-process concerns already presented by Defendants’ ad hoc

decisionmaking and by their refusal to provide any pre-listing notice or post-listing opportunity

to contest the designation.

       The timing of Defendants’ last-minute request is particularly unfair. The parties agreed to

a joint schedule three months ago; briefing on Hesai’s motion for summary judgment has been

complete for weeks; and counsel has begun to prepare for argument. Defendants offer no

explanation for why this request comes now, barely more than a week before the hearing. And

although Defendants purport to seek a 21-day postponement (for now), they hint that the delay

may be far longer. Because their new decision threatens to “supersede[]” the existing briefing,

Mot. 2, Defendants imply that the parties and Court may soon have to go back to square one. It




                                                2
        Case 1:24-cv-01381-PLF           Document 31     Filed 09/16/24      Page 3 of 4




is difficult to understand how that approach “will conserve the resources of the Court and the

parties.” Id.

       Finally, Hesai would be severely prejudiced by additional delay. As Hesai set forth in its

Complaint, the January 2024 designation has caused “immediate, severe, and ongoing harms,”

including “sustained and damaging press attention,” undue scrutiny from politically motivated

actors, and the loss of business opportunities. Dkt. 1 ¶¶ 84-91. Hesai has had to publicly refute

Defendants’ baseless justification for Hesai’s wrongful designation as a Chinese military

company. Unless and until Hesai is removed from the 1260H List, Hesai deserves a prompt

judicial determination regarding the lawfulness of the final agency action that continues to cause

such significant injuries.

       Public reporting suggests that “US government lawyers [are] concerned that the rationale

for [Hesai’s] inclusion [on the 1260H List] would not hold up to legal scrutiny.” Dkt. 27, at 1

n.1. If so, Defendants should remove Hesai from the 1260H List promptly, which would actually

“obviat[e]” (Mot. 2) the need for further proceedings. But until that day, the Court should

proceed as planned, hold the hearing as long-ago scheduled, and order vacatur as the

Administrative Procedure Act requires.




                                                3
       Case 1:24-cv-01381-PLF   Document 31     Filed 09/16/24     Page 4 of 4




                                    Respectfully submitted,

                                       /s James E. Tysse
Dated: September 16, 2024           James E. Tysse
                                      D.C. Bar No. 978722
                                    Caroline L. Wolverton
                                      D.C. Bar No. 496433
                                    Lide E. Paterno
                                      D.C. Bar No. 166601
                                    AKIN GUMP STRAUSS HAUER & FELD LLP
                                    2001 K Street, N.W.
                                    Washington, D.C. 20006
                                    Telephone: (202) 887-4000
                                    Facsimile: (202) 887-4288
                                    jtysse@akingump.com

                                    Zach ZhenHe Tan
                                     Admitted Pro Hac Vice
                                    AKIN GUMP STRAUSS HAUER & FELD LLP
                                    100 Pine Street, Suite 3200
                                    San Francisco, CA 94111
                                    Telephone: (415) 765-9500
                                    Facsimile: (415) 765-9501

                                    Counsel to Plaintiffs Hesai Technology Co., Ltd.
                                    and Hesai Inc.




                                       4
